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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA
                                           No. 15 CR 18
             v.
                                           Judge Elaine E. Bucklo
VIBGYOR OPTICAL SYSTEMS, INC.,
et al.

              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the unopposed motion of the government, pursuant to Federal Rule of

Criminal Procedure 16(d), it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for,

or in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendants and

defendants’ counsel (defined as counsel of record in this case) solely in connection

with the defense of this case, and for no other purpose, and in connection with no

other proceeding, without further order of this Court.

      2.     Defendants and defendants’ counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential

witnesses, counsel for potential witnesses, and other persons to whom the Court

may authorize disclosure (collectively, “authorized persons”). Potential witnesses

and their counsel may be shown copies of the materials as necessary to prepare the

defense, but may not retain copies without prior permission of the Court. The

materials and their contents shall not be disclosed either directly or indirectly to
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any person or entity outside of the United States without prior authorization from

the Court.

      3.     Any materials containing taxpayer information obtained from the

Internal Revenue Service shall be plainly marked as such by the government prior

to disclosure. No such materials, or the information contained therein, may be

disclosed to any persons other than defendants, defendants’ counsel, persons

employed to assist the defense, or the taxpayer on whose behalf such information

was provided to the Internal Revenue Service, without prior notice to the

government and authorization from the Court. Absent prior permission from the

Court, taxpayer information obtained from the Internal Revenue Service shall not

be included in any public filing with the Court, and instead shall be submitted

under seal (this Order does not, however, prohibit a defendant from making a public

filing containing the defendant’s own taxpayer information).

      4.     Certain additional materials disclosed or to be disclosed by the

government    contain   particularly   sensitive   information,   including   financial

information of one or more persons other than the defendant to whom the

information is disclosed. These materials shall be plainly marked as sensitive by the

government prior to disclosure. No such materials, or the information contained

therein, may be disclosed to any persons other than defendants, counsel for

defendants, persons employed to assist the defense, or the person to whom the

sensitive information solely and directly pertains, without prior notice to the

government and authorization from the Court. Absent prior permission from the

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Court, information marked as sensitive shall not be included in any public filing

with the Court, and instead shall be submitted under seal (except in the case of a

defendant who chooses to include in a public document sensitive information

relating solely and directly to the defendant making the filing).

      5.     Defendants, defendants’ counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendants, defendants’ counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      6.     Defendants, defendants’ counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents

of the materials, other than to authorized persons, and all such notes or records are

to be treated in the same manner as the original materials.

      7.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      8.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the

United States; or (3) retained in defense counsel’s case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

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disseminated or used in connection with any other matter without further order of

the Court.

      9.     To the extent any material is produced by the United States to

defendants or defendants= counsel by mistake, the United States shall have the

right to request the return of the material and shall do so in writing. Within five

days of the receipt of such a request, defendants and/or defendants’ counsel shall

return all such material if in hard copy, and in the case of electronic materials, shall

certify in writing that all copies of the specified material have been deleted from

any location in which the material was stored.

      10.    The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit

defense counsel in the use of discovery materials in judicial proceedings in this case,

except that any document filed by any party which attaches or otherwise discloses

the contents of taxpayer information obtained from the Internal Revenue Service

(other than taxpayer information relating solely to the defendant filing the

document in question) or specially identified sensitive information as described in

Paragraph 4, above, shall be filed under seal to the extent necessary to protect such

information, absent prior permission from this Court.

      11.    Nothing contained in this Order shall preclude any party from

applying to this Court for further relief or for modification of any provision hereof.



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                                     ENTER:



                                     ELAINE E. BUCKLO
                                     District Judge
                                     United States District Court
                                     Northern District of Illinois

Date: February 26, 2015




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